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                                                       A PROFESSIONAL CORPORATION
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                                                   6   Attorneys for Non-Parties
                                                       STEWART TITLE OF PLACER, BOB BAKER and CLARK DAVENPORT
                                                   7
                                                   8
                                                                                   IN THE UNITED STATES DISTRICT COURT
                                                   9
                                                                              FOR THE EASTERN DISTRICT OF CALIFORNIA
                                                  10
                                                  11   UNITED STATES OF AMERICA,                           Case No. CR. S-11-00054
                                                  12
                                                                      Plaintiff,                           WRIT OF HABEAS                 CORPUS         AD
                 350 University Ave., Suite 200




                                                  13                                                       TESTIFICANDUM
                    Sacramento, CA 95825
PORTER | SCOTT



                      FAX: 916.927.3706




                                                       v.
                      TEL: 916.929.1481




                                                  14
                                                  15   CHRISTOPHER JACKSON,

                                                  16                  Defendant.
                                                                                                     /
                                                  17
                                                  18          WHEREAS the attached application was granted by the Honorable Troy L. Nunley, Judge
                                                  19   of the U.S. District Court for the Eastern District of California, the named custodian, the
                                                  20   Sacramento County Main Jail, IS HEREBY DIRECTED to produce and deliver the named
                                                  21   detainee, Christopher Jackson, before the Honorable Judge Robert C. Hight (Department 47) of
                                                  22   the Sacramento County Superior Court, located at 720 Ninth Street, Sacramento, California 95814
                                                  23   on September 17-18, 2014 at 8:30 a.m., and thereafter to maintain said detainee within the
                                                  24   jurisdiction of this Court pending the satisfaction of this Writ or further Order of the Court.
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                                                  26   Dated: August 25, 2014
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                                                  28                                                            Troy L. Nunley
                                                                                                                United States District Judge

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                                                                                   WRIT OF HABEAS CORPUS AD TESTIFICANDUM
